         Case 8-20-08048-ast          Doc 24       Filed 05/18/22        Entered 05/18/22 14:37:32




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
 In re:                                                           :   Chapter 11
                                                                  :
    ORION HEALTHCORP, INC 1.                                      :   Case No. 8-18-71748 (AST)
                                                                  :
                         Debtors.                                 :   (Jointly Administered)
                                                                  :
    HOWARD M. EHRENBERG IN HIS CAPACITY                           :   Adv. Pro. No. 8-20-08048 (AST)
    AS LIQUIDATING TRUSTEE OF ORION                               :
    HEALTHCORP, INC., ET AL.,                                     :
                                                                  :
                                         Plaintiff,               :
                                                                  :
    v.                                                            :
                                                                  :
    ELIZABETH KELLY; FIDELITY NATIONAL TITLE                      :
    INSURANCE COMPANY,                                            :
                                                                  :
                                         Defendant(s).            :

                           STIPULATION RE STATUS OF ADVERSARY

          Plaintiff, Howard Ehrenberg, in his capacity as Liquidating Trustee of Orion Healthcare,

Inc. (the “Plaintiff”) and Defendant Elizabeth Kelly (“Kelly”, and collectively the “Parties”), by

and through their undersigned counsel of record, forward the attached stipulation (the

“Stipulation”) to advise the Court of the status of this adversary.




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Orion Healthcorp, Inc. (7246); Constellation Healthcare Technologies, Inc. (0135); NEMS Acquisition,
LLC (7378); Northeast Medical Solutions, LLC (2703); NEMS West Virginia, LLC (unknown); Physicians Practice
Plus Holdings, LLC (6100); Physicians Practice Plus, LLC (4122); Medical Billing Services, Inc. (2971); Rand
Medical Billing, Inc. (7887); RMI Physician Services Corporation (7239); Western Skies Practice Management, Inc.
(1904); Integrated Physician Solutions, Inc. (0543); NYNM Acquisition, LLC (unknown) Northstar FHA, LLC
(unknown); Northstar First Health, LLC (unknown); Vachette Business Services, Ltd. (4672); Phoenix Health, LLC
(0856); MDRX Medical Billing, LLC (5410); VEGA Medical Professionals, LLC (1055); Allegiance Consulting
Associates, LLC (7291); Allegiance Billing & Consulting, LLC (7141); New York Network Management, LLC
(7168). The corporate headquarters and the mailing address for the Debtors listed above is 1715 Route 35 North,
Suite 303, Middletown, NJ 07748.
      Case 8-20-08048-ast          Doc 24    Filed 05/18/22    Entered 05/18/22 14:37:32




                                             RECITALS

       1.         On March 13, 2020, Plaintiff filed a complaint [Dkt. No. 1] against Defendants.

The Complaint involves allegations of breach of fiduciary duty, Chapter 5 avoidance claims,

subordination and objection to filed claims.

       2.         The Summons [Dkt. No. 2] was issued by the Clerk’s Office on March 13, 2020.

       3.         On June 30, 2020, Defendants filed Defendant’s Elizabeth Kelly’s Motion to

Dismiss [Dkt. No. 12]. Thereafter, the Parties engaged in informal discussions regarding the

various issues.

       4.         On September 8, 2020, Plaintiff filed a Notice of Dismissal of Defendant Fidelity

National Title Insurance Company [Dkt. No. 18].

       5.         Starting in March 2021, the Trustee and numerous parties, which included the

participation of various insurers, attended court ordered mediations in an attempt to resolve the

Trustee’s claims in adversaries 20-08046, Howard M. Ehrenberg, in his capacity as Liquidating

Trustee of Orion HealthCorp, Inc. et al v. John Johnston, et al. (Adv. Proc. No. 20-08046; Main

Case No. 18-71748); Howard M. Ehrenberg, in his capacity as Liquidating Trustee of Orion

HealthCorp, Inc. et al v. Richard Ian Griffiths, et al. (Adv. Proc. No. 20-08048; Main Case No.

18-71748); Howard M. Ehrenberg, in his capacity as Liquidating Trustee of Orion HealthCorp,

Inc. et al v. Joel Plasco, et al. (Adv. Proc. No. 18-8053; Main Case No. 18-71748); and Howard

M. Ehrenberg, in his capacity as Liquidating Trustee of Orion HealthCorp, Inc. et al v. Elizabeth

Kelly, et al. (Adv. Proc. No. 20-08048; Main Case No. 18-71748).

       6.         A mediation was held on multiple occasions before Judge Rosen, Ret., and the

various parties and carriers.
      Case 8-20-08048-ast        Doc 24      Filed 05/18/22     Entered 05/18/22 14:37:32




       7.      On October 27, 2021, Plaintiff filed a Notice of Presentment of Motion Pursuant to

Rule 9019 of the Federal Rules of Bankruptcy Procedure and Section 105 of the Bankruptcy Code

for Entry of an Order Approving Settlement Agreement [Dkt. No. 20].

       8.      On December 16, 2021, the Court entered an Order Authorizing The Trustee To

Enter Into And Approving The Agreements By And Between The Trustee And Various Defendants

[Dkt. No. 22]. Various agreements were reached with respect to the directors and officers litigation

and insurance carriers. With respect to the Kelly adversary, this matter at Adv. Pro. No. 8-20-

08048, the agreements did not resolve any of the claims asserted against Kelly, but addressed

Kelly’s rights as against one of her insurers and the enforcement of judgment on certain claims in

the Kelly adversary.

       9.      Following the entering of the Order [Dkt. No. 22], the Plaintiff and Kelly

exchanged settlement position letters as to the claims and defenses of remaining claims. On March

16, 2022, the Parties and carriers met and conferred regarding the allegation(s) and defenses.

Following the exchange, the Defendants’ exchanged a position letter date April 1, 2022, to which

Plaintiff is preparing a response. The Parties will submit a stipulation and order to attend mediation

following the upcoming exchange or will enter into a Case Management and Scheduling Order

with respect to briefing the filed §12(b)(6) motion.

       10.     The stipulation is made in good faith and not with the intent to hinder or delay this

adversary proceeding.

       NOW AND THEREFORE, IT IS HEREBY STIPULATED AND AGREED:

       1.      Within 90 days of the filing of the Stipulation, the Parties will file a proposed

Stipulation and Order to Attend Mediation or Case Management and Scheduling Order with respect

to briefing the filed §12(b)(6) motion;
       Case 8-20-08048-ast       Doc 24      Filed 05/18/22     Entered 05/18/22 14:37:32




        2.     Each person who executes this Stipulation represents that he or she is duly authorized

to execute this Stipulation on behalf of the respective Parties hereto and that each such party has full

knowledge and has consented to this Stipulation

        3.     This Stipulation may be executed in one or more counterparts, any of which may be

transmitted by facsimile or electronic transmission, and each of which shall be deemed an original,

but all of which together shall constitute one and the same document.

 Dated: April 29, 2022                           Dated: May 2, 2022
 PACHULSKI STANG ZIEHL & JONES LLP               SILVERMANACAMPORA LLP
 Attorneys for Plaintiff Howard M.               Attorneys for Defendants Elizabeth Kelly
 Ehrenberg in his capacity as Liquidating
 Trustee of Orion Healthcorp, Inc., et al

 By:      /s/ Jeffrey P. Nolan                   By:     /s/ Anthony C. Acampora
       Ilan D. Scharf, Esq.                              Anthony C. Acampora, Esq.
       Jeffrey P. Nolan, Esq.                            Brian Powers, Esq.
                                                         100 Jericho Quadrangle, Suite 300
       780 Third Avenue, 34th Floor
                                                         Jericho, NY 11753
       New York, NY 10017                                Tel: (516) 479-6300
       Tel: (212) 561-7700                               Email: aacampora@sallp.com
       Email: ischarf@pszjlaw.com                                bpowers@sallp.com
                jnolan@pszjlaw.com

SO ORDERED:




                                                               ____________________________
 Dated: May 18, 2022                                                     Alan S. Trust
        Central Islip, New York                              Chief United States Bankruptcy Judge
